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                   IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF PUERTO RICO


  IVETTE M. MARTÍNEZ GONZÁLEZ, ET
               ALS.,

                   Plaintiffs

                       v.

     CATHOLIC SCHOOLS OF THE
   ARCHDIOCESES OF SAN JUAN THE
 PROVISIONS OF PENSIONS PLAN, et als.                 CIVIL No. 16-2077 (GAG)
                                                                16-2318
                 Defendants

 NORMA CARDOZA-ESTREMERA, ET AL.,
            Plaintiffs,

                       v.

    COLEGIO PADRE BERRIOS, ET AL.,
             Defendants

                     URGENT MOTION REQUSTING ORDER

TO THE HONORABLE COURT:

      COME NOW Defendants Superintendence of the Catholic Schools of the

Archdioceses of San Juan (hereinafter “the Superintendence”) and Samuel Soto, through

counsel and respectfully STATE and PRAY as follows:



      1. On December 13, 2017, the undersigned counsel filed a Notice of Appearance

      on behalf of the Superintendence. See Docket No. 163. Also, Defendants requested

      a stay of all pending deadlines for a period of twenty (20) days to adequately



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       review the file and file any corresponding motions. See Docket No. 163. Said stay

       was granted by the Court. See Docket No. 164.

       2. On December 21, 2017, Defendants’ prior counsel filed a Motion to Withdraw.

       See Docket No. 173.

       3. However, the undersigned counsel has not received the files of both cases from

       Defendants’ prior counsel. As such, Defendants request that the Court order

       Defendants’ prior counsel to deliver the files by the end of business today.

       4. Also, Defendants request a period of twenty (20) days after the files have been

       delivered to the office of Schuster & Aguiló, LLC, to file any pending motions or

       respond and reply to the motions filed by the other parties.

       5. The undersigned counsel informs the Court that he made several attempts to

       obtain the files prior to filing the instant motion.



       WHEREFORE, Defendants respectfully request that the Court take notice of the

above mentioned information, order Defendants’ prior counsel to deliver the files by the

end of business today and grant a period of twenty (20) days after the files have been

delivered to the office of Schuster & Aguiló, LLC, to file any pending motions or respond

and reply to the motions filed by the other parties.



       RESPECTFULLY SUBMITTED.

       In San Juan, Puerto Rico, this 22nd day of December 2017.



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      WE HEREBY CERTIFY that on this same date we electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system. Notice of this filing will be sent

all parties by operation of the Court’s electronic filing system. Parties may access this

filing through the Court’s system.



                            SCHUSTER AGUILÓ LLC
                             Telephone: (787) 765-4646
                              Telefax: (787) 765-4611

                              s/Pedro A. Busó García
                               Pedro A. Busó García
                               USDC PR No. 222511
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